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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:12CR311
       vs.                                 )
                                           )                       ORDER
DANIEL ESPINOZA,                           )
                                           )
                     Defendant.            )



       This matter is before the court on defendant's SECOND MOTION TO EXPAND
PRETRIAL MOTION DEADLINES [222]. For good cause shown, I find that the motion
should be granted. The defendant will be given an approximate 15-day extension.
Pretrial Motions shall be filed by December 5, 2012.

       IT IS ORDERED:

      1.  Defendant's SECOND MOTION TO EXPAND PRETRIAL MOTION
DEADLINES [222] is granted. Pretrial motions shall be filed on or before December 5,
2012.

        2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between November 20, 2012 and
December 5, 2012, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 19th day of November, 2012.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
